       Case 2:25-cv-00867-MKC            Document 15         Filed 06/09/25      Page 1 of 4


                        IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 FOREST C GREECE
           Plaintiff                                 Case No. 25-0867


        v.

 BENJAMIN E. HEIST, et al
           Defendants




                                              ORDER

       AND NOW, this 9th day of June, 2025, it is ORDERED that counsel for the parties are

to appear for an initial pretrial conference pursuant to Fed. R. Civ. P. 16(a) on July 8, 2025 at

2:00 p.m., in Chambers Room 3042, 3rd floor at the James A. Byrne United States Courthouse

located at 601 Market Street, Philadelphia, PA 19106. Prior to the pretrial conference, the

parties are directed to confer and prepare a joint report pursuant to Fed. R. Civ. P. 26(f) using the

attached format. At least three days prior to the initial pretrial conference, counsel for the parties

shall submit the joint report to chambers via email. The parties shall exchange initial disclosures

pursuant to Fed. R. Civ. P. 26(a)(1) at least one business day in advance of the initial pretrial

conference.

                                                       BY THE COURT:



                                                       MARY KAY COSTELLO
                                                       United States District Judge
       Case 2:25-cv-00867-MKC             Document 15        Filed 06/09/25      Page 2 of 4




                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


                                                               CIVIL ACTION

        v.                                                     NO.




                                  JOINT RULE 26(f) REPORT

       In accordance with Federal Rule of Civil procedure 26(f), counsel for the parties

conferred on (insert date) and submit the following report of their meeting for the Court’s

consideration:

I.     Description of Claims and Defenses

       The parties should assume that the Court has read the Complaint and is familiar with the

claims. However, the Court does not know all the facts supporting those claims, nor the factual

bases for the defenses. Therefore, counsel should summarize the primary facts and threshold

legal issues. These summaries can be listed by party and as separate narratives. Counsel should

not merely parrot their pleadings. In addition, the parties should attach critical documents to this

report for the Court to review, if not attached to the pleadings already (e.g., in a contract case, the

document(s) comprising the contract; in a personal injury case, photographs of the scene, etc.).

II.    Informal Disclosures

       Confirm each party’s compliance with Federal Rule of Procedure 26(a), including the

date of exchange. Initial disclosures should be completed before the initial pretrial conference.
       Case 2:25-cv-00867-MKC            Document 15        Filed 06/09/25      Page 3 of 4


III.   Formal Discovery

       Summarize the issues on which the parties will need to conduct discovery. Identify

categories of information each party needs in discovery, the anticipated number of depositions

per party, the likely third-party discovery to be sought, and whether the parties anticipate the

need for expert witnesses. For expert witnesses, please state the general subject on which the

experts may opine and whether the parties anticipate conducting expert depositions.

IV.    Proposed Case Management Deadlines

       Identify proposed deadlines for the exchange of expert reports, the completion of all

discovery, and the filing of dispositive motions. The parties should presume that the Court will

not bifurcate fact and expert discovery. Therefore, the Parties should propose dates that take that

presumption into account. In most cases, the Court will allow 120 days from the date of the

initial pretrial conference to complete all discovery. The Court will permit additional time if the

parties identify compelling reasons to do so.

V.     Electronic Discovery

       Prior to the initial pretrial conference, the Court expects the parties to have a thorough

discussion about electronic discovery, including but not limited to 1) the need for electronically

stored information (“ESI”), 2) sources of ESI, 3) the anticipated scope of electronic discovery, 4)

the identity of potential custodians, 5) whether search terms will be necessary and, if so, any

limitations thereto, 6) the respective burdens of collecting, reviewing, and producing ESI,

including any claims for cost-shifting under the Federal Rules of Civil Procedure, and 7) any

anticipated problems with electronic discovery. The parties should summarize their discussion

of these issues here.
        Case 2:25-cv-00867-MKC           Document 15       Filed 06/09/25      Page 4 of 4


VII.    Protective Orders and Confidentiality Agreements

        The parties should indicate whether they anticipate the need for a protective order in this

case. If so, the parties must explain what type of information needs protection from disclosure

and why such protection is warranted under governing standards.

VII.    Alternative Dispute Resolution

        The parties should familiarize themselves with Local Rule 53.3 before responding.

Discuss whether the parties have considered the use of alternative dispute resolution or have

engaged in settlement discussions. Explain any decisions not to seek early resolution. State

what mediation options the parties may consider and when mediation would be appropriate.

VIII. Consent to Send Case to a Magistrate Judge

        The parties should indicate whether they consent to have a United States Magistrate

Judge conduct any or all proceedings in this case, pursuant to 28 U.S.C. § 636(c).

IX.     Other Matters

        The parties should identify any other issues that have not been addressed above but may

require the Court’s attention.



Date:



____________________________                          _________________________________
Attorney Signature                                    Attorney Signature
